Case 1:20-cr-00032-LEW Document 45 Filed 05/25/21 Page 1 of 1             PageID #: 157




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


 UNITED STATES OF AMERICA                      )
                                               )
 V.                                            )
                                               )
 MORGAN ROSENBERG,                             )   1:20-CR-00032-LEW
                                               )
                      Defendant                )

            ORDER ON MOTION FOR COMPASSIONATE RELEASE

       Roughly four months remain in Defendant Morgan Rosenberg’s term of

incarceration following the revocation of his supervised release.

       Mr. Rosenberg’s Diabetes (controlled) and elevated BMI, while complicating

factors in the event of contraction of the COVID 19 virus, do not appear to present dire

risks given the BOP’s work to mitigate the spread of COVID 19 in its facilities, including

its implementation of a vaccination program, and the Government’s report that there were

no positive COVID 19 cases at Defendant’s facility, FCI Edgefield, as of May 21, 2021.

Furthermore, Plaintiff’s separate concern over the growth of a cyst was investigated and

the cyst was diagnosed as benign.

       Given these circumstances, which include Mr. Rosenberg’s youthfulness, I find that

this case does not present an extraordinary and compelling reason for early release. Mr.

Rosenberg’s Motion for Compassionate Release is DENIED.

       SO ORDERED.

       Dated this 25th day of May, 2021.

                                           /s/ Lance E. Walker
                                          UNITED STATES DISTRICT JUDGE
